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..t


                                                                                         U.S, DePartment of Justice

                                                                                         Uniled States AttorneY
                                                                                         District of Maryland
                                                                                         Southern Division

                                                                                         OAw beotion:                      DIRECT: 4tO-2tt9"1959
                 Ril.t                              Mo nt Adr.tt:                                                            ].l,llN:1lG2O9-t800
      Poul ,1.
                                                    36 5. Cto .s Str..t lth Floor        36 S. Charles Srn.t, lth   Fl@t
      ltsttarrt lJniLd Sut.s AtomeY                                                      Boltirrorc. MD 21201                   FAX: 4l0-962-0693
      P@l.Ril.t@t tdoi.SoY                          Baltiderc, MD 2)201

      na    t0.2s.21
                                                                                    October 25, 2021


      James       Cra*{ord, Esq.                                                                                           c;
      Mark Sobel, Esq'
      JC Law                                                                                                                ,
      999 Corporate Boulevard, Suite 100
      Linthicum, Maryland 2l 090

                    Re:        United States v' William Brown IV'
                               Criminal No. CC8-20-257

      Dear Counsel:
                                                                             the plea age€ment (this
                                                    wi$ the Sealed Supplement'-confirms
                    This letter, together
      "ag.""."ri"i r,"ih;:";, "nl*al" y*'iorcti"nt,     wittiam Brown IV (hereinafler "Defendant")'
                                                   the District of Maryland ('this offict*)...If the
      bv the United sures Attorney;; oiil
      il.fffi;il;;il;;r';ii;;:';1;;iur.       tr'" Defendanr execute it in rhe spaces provided below.
                                                              it will bc deemed withdrawn. The terms
      If this offer has nor been acceptJlJ Nor".u.r 1,2021,
      of the Agrcement are as follows:

                                                              Offenses of Conviction

                    The Defendant agrees to plead guilty to -C^ounts
                    l.                                                    I and 7 of the Superseding
      lndictment, whictr ctrarge trre nJflJ"ni
                                               *itt proir",ion of child Pomography, in violation of l8
      ijtil;il;Gxrl il"            p"6"J"r,         o"t the Defendant is, in fact, guilty of the offenses
                    Court'
                                                                "a.ii.
      and    will        so advise the

                                                o                                        f          P


                    2.TheelementsoftheoffensestowhichtheDefendanthasagreedtopleadguilty'and      the dates
      which this oflice would pror"     ii,t *r" went to trial, are as fotlows: That on or about
                          t;;;;r*l          "
                                     z i' ii"i'p"*"aing    hiictment' in the District of Maryland' the
      ;;d;                                "ia
      Defendant
                                                                          enticed or coerced a
                            Knowingly employed' used' persuaded' induced'
                               a'
      minor to engage in sexually explicit conduct;
                                                                                        of such conduct; and
                               b.        For lhe purpose ofproducing a visual depiction

                               c.TheDefendanthadreasontoknowthatthevisualdepictionwouldbe

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transported in interstste commerce, said visual depiction was transported in interstate or foreigt
commerce, or the materials used to produce the visual depiction were transported in interstate
commence.
                                              Penalties

         3.    The maximum penalties provided by statute for the offense(s) to which the
Defendant is pleading guilty are as follows:



                                  Min.     Maximum         Supervised       Maximum         Special
Counls             Statute                                   Release          Fine        Assessment
                                  Prison    Prison


                                                                                             $   100,
               l8 u.s.c.            l5                         Life          $250,000
                                                                                             $s,000
 I 7                                        30 years
              g 22sl(a)(l)        years                                                    (18   u.s.c.
                                                                                            $ 3014)




                   a.   Prison: Ifthe Cou( orders a lerm of imprisonment, the Bureau of Prisons
has sole discretion to desigrrate the institution at which it will bc served.

                   b. Supervised Release: If the Court orders a term of supervised release, and
the Defendant violates the conditions of supervised release, lhe Court may order the Defendant
retumed to custody to serve a term of imprisonment 8s permitted by statute, followed by an
additional term of supervised release.

               c.     Special Assessments: The Court must order the Defendant to pay a special
assessmenl pursuant lo l8 U.S.C. $ 3013 and may order additional special assessments for certain
convictions pursuant lo l8 U.S.C. $$ 3014 and 2259A.

                d.    Restitution: The Court may order the Defen&nt to pay restitulion pursuant
to l8 U.S.C. $$ 3663, 3663A,3664,and2259.

                e.      Payment: If a fine or rtstitution is imposed, it shall be payable immediately,
unless the Court orders otherwise under l8 U.S.C. $ 3572(d). The Defendant may be required to
pay interest ifthe fine is not paid when due.

                   f. Forfeiture: The Court may enter an order of forfeiture of assets directly
traceable to the offense, substitute assets, and/or a money judgment equal to the value of the
property subject to forfeiture.

                g.    Collection of Debts: lf the Court imposes a fine or restitution' this OfTice's
Financial Litigation Unit will be rcsponsible for collecting the debt. lf the Court establishes a
schedule of payments, the Defendant sgrees that: ( I ) the full amount of the fine or rtstitution is

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nonetheless due and owing immediately;
                                              (2)  the  schedule of payments is merely a m-inimum
                            nor trr"-oniv i,"tir{a, g." limjtation on the methods, available to the
schedule of payments   -a                                           may fully employ €llpowers to
if;; il"',    rL enforce the juJgmeni and (3) the United Ssres
                                                                               paid' the Defendant
;;i;; ;; ;"   to,t amount oi ttt? a"ui u, provided by law. Until the debt iswhich    the Defendant
                                                                       or over
      ,  air"f"re all assers in *t i.t tt" Iiefendant has any interest
"g*",
exercises direct or lnai.ecr controi. Until the money         Judgrnent is satisfied, the..Defendant
                                                                      the Defendant's ability to pay'
."ii".fr"rif,ir Oflice to oUtain a c."dit t"pott in order to ivaluate    rax returns. The Defendant
il';;'il;i      and review tr,. o"i.na-t'r federal and state income
agrees to complete and sign     ,;il9f     IRS,.form 882-1. (relating the voluntary disclosure of
                                                                      to
federaltaxretuminformationland.afinancialstatementinaformprovidedbythisoffice.

                                         OIlender Reqistration

        4.TheDefendantunderstandsandagreesthat,asaconsequenceofthe-Defendant's
                                                   pleading guilty, the Defendant will be required
convicrion for rhe crimes to wh[i,r,. o"i"ra"nt is
ro reeister as a sex offende, iii-t. prr." where the
                                                     Defendant resides, is an employee, and is a
;r'o'""r;;#r;;;";;i;;         onlna!' n"gi't"tion and Notification Act (SoRNA)' and the laws
                                                       do so may subject the Defendant to new
of the state of the Defendan,'r- i"rio.n""l Failure to
charges pursuant to I 8 U.S.C' $ 2250'

                                           Wai ver of Ri shts

               The Defendant understands that by entering into
                                                               this Agreement, the Defendant
        5.
surrenders certain rights as outlined below;
                                                                                plea' the Defendant
               8.     lfthe Defendant had pled not guilty and persisted in that
                                                          ctose assistance of competent counsel'
would have had the right a ,p""av.ir.y'trial wi6 rhi
                             "                       jury. if the Defendant, this office, and the
That triat coutd be conducred ;;;i;,ig;; wirhour
                                                   a

Court all agreed.

               b.      lfthe   Defendant electedajury trial' thejury would be composed oftwelve
individuals selected from th"  r;;;;itt.     6ounril *d th. Deiendant would have the opportunity
                                                   bias or who were otherwise unqualified' and
to challenge prospective juroo'*lo-Jt'tontoated
                                                       ofjurors peremporily' All twelve.jurors
would have the opportunity ,o-toi[" u certain number
                                                        could be found guilty ofany count' The
would have to agree unanimou.rv-il"ror" the Defendsnt
                                                            to be innocent, 8nd that presumption
 iurv would be instructed trr" ,r,J o.i"ia-t was prrsumed
'"Lita u. on"t"o.e only by proof beyond a reasonable doubt'

                          the Defendant went to trial' the Govemment
                                                                      would have the burden of
               c.      lf
proving the o"i"na"nr grifry b"y"'J ' **onable
                                                   doubt' The Defendant would have the right to
                                                 witnesses. The Defendant would not have to
confront and cross-examrr" rhi Gor"--ent's
                                          *r,atsoever. Ifthe Defendant wanted to call witnesses
Dresent any defense witnesse, i. "ria"n""                      power of the Court to compel the
in defense. however, ,t O"f"na-' *ould have the subpoena
witnesses to attend.
                        "



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               d.     The Defendant would have the right to testiry in the Defendant's own
defense if the Defendant so chose, and the Defendant would have the right to refuse to testiry. If
the Defendant chose not to testiry, the Cou( could instrucl the jury that they could not draw any
adverse inference from the Defendant's decision not to testiry'

               e.IftheDefendantwerefoundguiltyafteratrial,theDefendantwouldhave
the right to appeal the verdict and the Court's pretrial and trial decisions on the admissibility of
evideice to  riiif     erors were committed which woutd require a new trial ordismissal-of the
                   "ny
charges. By pleading guilty, the Defendant knowingly gives up the right to appeal the verdict and
the Court's decisions.

                   f.  By pleading guilty, the Defendant will be giving up all of these rights,
except the right, under it. tirrlit"J circumstances set forth in the "Waiver of Appeal"
                                                                                        paragraph
Uetow, to apfeat the sentence. By pleading guilty, the Defendant understands that the Defendant
                                                                                            facts
may have to answer the Court's quistions both about the rights being given up and aboul the
of the case. Any    statements that the Defendant makes during such a hearing would not be
admissible againsi the Defendant during a trial except in a criminal proceeding for
                                                                                    perjury or false
statement.

                   g.lftheCourtacceptstheDefendant'spleaofguilty,theDefendantwillbe
giving up the ri-ght to nte and have the Court rule on pretrial motions, and there will be no further
iiut o-r p.o"""aing ofany kind in the above-referenced criminal case, and the Court will find the
Defendant guilty.

                   h.    By pleading guilty, the Defendant witl also be giving up cerlain valuable
                      be subject to diportation or other loss of immigration stalus,.including possible
civil rights and may-The
denatullization.         Deiendant recognizes that if the Defendant is not a citizen of the United
States, or is a naturalized citizen, pleiding guilty may have consequences with respect
                                                                                                  to the
Defendant's immigration sfatus. Under federal        law,  conviction for a broad  range  of crimes  can
lead to adverse immigration consequences, including automatic removal          from  the  United States.
Removal and other immigration con.equen"es are the subject ofa separate proceeding, however,
                                                                                         the Court, can
and the Defendant underJfands that no one, including the Defendant's attomey or
predict with c€rtainty the effect of a conviction on immigration        status.  The  Defendant   is not
[tying on        p.o.ir" or belief about the immigration consequences of         pleading   guilty. The
             "ny
Defen-<tant nevertheless affirms that the Defendant wants to plead guilty regardless
                                                                                        of any potential
immi gration consequences.

                               Advisorv Sentencine Guidelines Aoplv

        6.      The Defendant understands that the Courr will determine a sentencing guidelines
range for this case (henceforth the "advisory guidelines ranBC) Pursuanl to the Sentencing
                                                                                           Reform
                                                                                                28
Act of 1984 ar l8 u.s.c. $ 3551-3742 (excepting l8 u.s.c. $ 3553OXl) and 3742.(e)) and
U.S'c.$$gglthroughggs.TtreDefendantfurtherunderstandsthattheCourtwillimposea
         -pursuant
sentencJ           to the Sentencing Reform Act, as excised, and must take into account the
advisory guidelines range in esublishing a reasonable s€ntence'
                          Factual and Advisorv Guidelines StiDulstion

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       T.ThisofliceandtheDefendantslipulateandagreetothestipulationofFsctsset
                                                             herein. Furthermore, this olIice and
forth in Attachment A, which ir'ii*rpoot"a by ieference
ii."Ori*i-, rgree that the Sur"."ni of fucts    istablishes the commission of additional ollenses
;;;;;I#;?ihar         shal   t ."r.a as if the Defendanl had been convicted of additional counts
                               *
charging those offenses.
                                                                         tC                      ant

       Conduct):

               a.     The base offense level for production            ofchild pomography is 32 pursuant
to U.S.S.G. S 2G2.1(a).

               b.       Pursuant to U'S'S'G' $           2G2'lOXl)' there is a two (2) Ievel increase
because rhevictim ofthe    off*r.      f,"a              U. ug! oi iZ years but had not attained the age of
        (Subtotal: 34).
                                              "tt"ir.O
l6 yean
                                                                     is a two (2) level increase
               c.      Pursuant to U'S'S'G' $ 2G2' l (bX2XA)' there
because the offense involved tr,.
                                              of a sexual act or sexual contact' (subtotal: 35).
                                      "o_,nri,'ion
                                                                                        le

       Ni   e (Rel evant Con

               d.       The base offense level for production          ofchild pornography is 32 pursuant
to U.S.S.G. $ 2G2'l(a)'

               e.                            2G2'lOXl)' there is a two (2) level increase
                        Pursuant to U'S'S'G' $
because the victim ofthe orr.nr"lua utt in.a
                                             o" ugl oi iz y"r.. but had not aflained the age of
l6 years (Subtotal: 34).
                                                                            is a two (2) level increase
               f.       Pursuant to U'S'S'G' $           2G2'lOX6)' there
                                   trt. ut" oru   *rputer   or'an interactive computer service to - -
because the offense involved
persuade, induce, entice,                           eniage in sexually explicit conduct (Subtotal: 36)'
                           "o".."-t 'inotto
       Count Seven:

               g.     The base offense level for production            ofchild pomography is 32 pursuant
to U.S.S.G. $ 2G2.1(a).

               h.       Pursuant to U'S'S'G' $           2G2'lOXl)' there is a two (2) level increase
because the victim ofthe               rr.il*i""a        o" ugl oi iz years but had not attained the age of
                           "rr."r"
16 years (Subtotal: 34)'

                   i.   Pursuant to U'S'S'G' $           2G2'lOX5)' there is a two (2) level   increase
                                          tttutive'"or legai guardian of the minor involved in
                                                                                               the
because the defendant   *", p"'*t,
                               "
offense (Subtotal: 36).

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       Grouoins:

               j.     This Office and the Defendant agrce that as detailed in Attachment A,
because the deiendant produced images ofchild pomography ofat least two victims, there are
two groups for production of child pomography and thercfore two unis'

                 k.    Pursuant to U.S.S.G. $ 3D t .4, the toul number of units is 2 and therefore
the highest offense levet (36) is increased by two (2) levels. (Subtotal: 38)'

       ChaDte r Four             ent:

                 l.      Pursuant to U.S.S.C. $ U.S.S.G' $ aBl'5(b) and Application Note 4(B)'
there is a five (5) level increase because the instanl offense ofconviction is a covered sex crime
and the defendant engaged in a pattem of activity involving prohibited sexual conduct.
(Subtotal:43).

                 m.    Pursuant to U'S'S'G' $ U.S'S.G. $ 3C I .l , there is a two (2) level increase
because the Defendant attempted to obstnrct or impede, the administration ofjustice with respect
to the investigation and prosecution ofthe instant offenses ofconviction, and
                                                                                  (2) the obstructive
conduct relatid to (A) the Defendant's offenses ofconviction and any      relevant  conduct; or @) a
closely related offense. (Subtotal: 45).

                 n.       This Oflice does not oppos€ a two-level reduction in the Defendant's
adjusted offense level pursuant to u.s.s.G. $ 3El.l(a), based upon the Defendant's apparent
primpt recognition and allirmative acceptance ofpersonal responsibility for the Defendant's
.rinlin"l            This office agrees to make a motion Pursuant to u.s.s.G. $ 3El.l O) for an
          "ondu"t.
additional one-level decrease in iecognition of the Defendant's acceptance of personal
responsibility for the Defendant's conduct. This oflice may oppose any adjustment for
u"".pt n.. of ."tponsibility under U.S'S.G. $ 3El.l(a) and may decline to make a motion
pursuant ro U.S.S'.G. $ 3Ei.lO), if the Defendant: (i) failsto.admit each and every item in the
iactual stipularion; (iij denies involvement in the offense; (iii) gives conflicting statements about
the Defendant's involvement in the offense; (iv) is untruthful with the Court, this Office, or the
United States Probation Oftice; (v) obstructs or sttempts to obstructjustice prior to sentencing;
(vi) engages in any criminal conduct between the date ofthis Agl€ement and the dste of .
,"nt nJirig; (vii) attempts to withdraw the plea of guilty; or (viii) violates this Agreement in any
w8y'
                   o.   Accordingly, the anticipated adjusted base offense level is '12'

        8.      There is no agreement as to the Defendant's criminal history and the Defendant
understands that the Defendant's criminal history could alter the Defendant's offense level'
Specifically, the Defendant understands that the Defendant's criminal history could alter the final
oir"n* l"rJ if the Defendant is determined to be a career offender or if the instant offense was a
purf oiu p"tt". of criminal conduct from which the Defendant derived a substantial
                                                                                      portion of
the Defendant's income'



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        g.     other than as sel forth above, no other offense characteristics,
                                                                                sentencing
                                                                  in th€ United States Sentencing
suidelines factors. polential departures or ai;ustments set forth
A;td;;i;.r;;a'irprt" o, *iit be raised incatculating the advisory guidelines range.
                                      Oblieations of the Parties

        10.    Subject to paragraph
                                -advocate
                                         ll below, at the
                                                            -time
                                                                  of senlencing' this Office- and the
Defendant ,"r.*.-tha rigtri to             for a reasonable sentence, period of supervised release,
                                                           18 U'S'C' $ 3553(a)' This Office and the
and/or fine considering ury .pp,opti"t" factors under
                                                        attention all information with respect to the
Defendant reserve the right to'bri'nj to the Court's
                                                                         the Defendant deem relevant
O.i".J""r,, backgroundlcharacter,-and conduct that this Office orofthe        Superseding lndictment.
io ,.nt"*ing, ir"l-rding th.              is the subject ofany counts
                             "onJucithat
Atthelimeofsentencing,thisoflicewillmovetodismissanyopencountsagainsttheDefendant'
                                               Ru   I   l(c IYC)

                  The parties stipulate and agree pursuant^to Federal Rule
                                                                                of Criminal Procedure
         LI
                                                           (lE years) and 324 months (27 years) of
 I l1c\4 )(C) lhat a senrence of U"t*"., 2i6 months
                                                                                              of this case
*H",ji,"Jr;;       ;;;;;iil;i,he         Bureau of Prisons is the appropriate dispo-sition
                                                                                  Defendant's     criminal
fiffiHffi;1;;;"tt-           ffi n"rr* -a circumstances of the offense. the Agreement does             not
ni""&,'-a of the other fu"to., ,"t forth in lg u.s.c. supervised  $ 3553(a). This
                                                                                    or  fine or to set any
                "1 discretion to impose any lawful term of
             court,s
                                                                           release
"ii".i'ri,"                                                                   each. rcserve the right to
ir*irr'l.rai,i"rs of probation oi'rup"ruL.a release. And theInparties
arque for any reasonable    t"-    oirup.*ir"d release and.fine. the event that the Court rejects
                          rnJ". tt. .i.'"u.srances nored below, either parry may elecr to
                                                                                               declarc the
;il;;;il;;.;;r                                                                     will   be afforded  the
;;;;;;ii            and void. sr,oriJ tr,, Defendant so elect, rhe Defendant
                                                                           Rule of criminal     Procedure
nnnortunitv    to withdraw his ptea pursuant to the provisions ofFederal
            "'d;                                                             engaged in obstructive or
;i[x;.            p"i".        irt;t if the court finds  that the  Defendant
                         "g.*                                                as set forth. herein, neither
;;ii,)|;i ueiarior andlo'r tailei io acknowledge personal_responsibility
                                                        specific sentence contained in this Agreement,
the Court nor the Gor"-nt.nt *iil be bound b! tire
and the Defendant will not be able to withdraw
                                                    his plea'

                                              Waiver of APoeal

                                                                                      Defendant in this
         12.   ln exchange for the concessions made by this OfIice and the
                                                            to appeal as follows:
ngrr"."-nt, this bfnce ani the Defendant waive their rights
                                                                               to.28 U'S'C' $ l29l or
                 a.     The Defendant knowingly waives all right' pursuant
                                                          the Defendanfs conviction on any ground
anv other statute or constitutionaip.ouision, io appeat
;iil;;'rn;.1;;il;;;;;t,;oluirrier'r.                upp"al rhe Defendant's convicrion on the ground
                                                pteaaing guilty is unconstitutionat, or on the ground
thar the statute(s) to which tr,"'6.i"ra"r, ii
thar the admitted
                                                                        t
                            ao", noi iutt *ittrin the siope oi th" tt t.(t), to the extent
                                                                                             that such
                    "ordu"t
challenges legallY can be waived'
                                                                                    all rights
                  b.    The Defendant and this oflice knowingly and expressly.waive
conferredby18U.S.C.$3T42loappealwhateversentenceisimposed(includinganytermof

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imprisonment, fine, term of supervised release, or order of restitution) for any reason (including
the establishment of the advisory sentencing guidelines range, the determination of the
Defendant's criminal history, the weighing of the sentencing factors, and any constitutional
challenges to the calculation and imposition ofany term of imprisonment, fine, order of forfeiture,
order oi rcstitution, and term or condition of supervised release), except as follows:

                       i.      The Defendant reserves the right to appeal any sentence that exceeds
the statutory maximum; and

                      ii.      This Office resewes the right to appeal any sentence below            a
statutory minimum.

                  c.TheDefendantwaivesanyandallrightsundertheFrcedomoflnformation
Act relating to the investigation and prosecution ofthe above-captioned matter and agrees not to
file any request for documents from this Oflice or any invesligating agency'

                                              Forfeiture

        I   3. The Defendant understands that the court may enter an order of Forfeimre as part
of the Defendanr's sentence, and that the Order of Forfeiture may include assets directly trsceable
to the offense(s), substitute assets, and/or a money judgment equal to the value of the prop€rty
derived from, or otherwise involved in, the offenses.

        14.      Specifically, but without limitation on the Govemment's right to forfeit all property
subject to forfeiture as permitted by law, the Defendant agrees to forfeit to the United States all
                                                                                                    of
rhebefendant's right, title, and interest in the following items that the Defendanl agrees  constitute
money, property, ind/or urr"ts derived from or obtained by the Defendant as a result of, or used
to facilitateihe commission of, the Defendant's illegal activities:

             a.   A Cyber Power PC, SN: ETl350'2281;
             b.   A Samsung Note 9 smartphone, SN: 803VTEY0675476;
             c.   Asus Model N580G Notebook PC, SN: J9NOCVI 16577398;
             d.   A SanDisk Cruzer Hand Drive, S/N: 4C531001570512117250; and
             e.   A Blue 2014 chrysler Town & country Minivan bearing Maryland Registration
                  9CW408l.

        15.    The Defendant agrees to consent to the entry oforders of forfeiture for the property
described herein and waives the requirements ofFederal Rules of Criminal Procedure I l(bxlXJ)'
32.2, and 43(a) regarding notice of the forfeiture in the charging instrument, advice regarding
forfeituredu.ing ti'e chaige of plea hearing, announcement of the forfeiture at sentencing, and
incorporation ofthe forfeiture in the judgment.

        16.     The Defendant agrces to assist fully in the forfeiture of the above property. The
Defendant agrees to disclose all issets &nd sources of income, to consent to all requests for
                                                                                                ac-cess

to informatiJn related to assets and income, and to take all steps necessary to pass clear title to the
forfeited assets to rhe United States, including executing all documents necessary to transfer such

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title,assistinginbringinganyassetslocatedoutsideoftheUnitedStateswithinthejurisdictionof
theUnitedStates,andtakingwhateverstepsarenecessarytoensurethatassetssubjecttoforfeiture
are made available for forfeiture'

         lT,TheDefendanrwaivesallchallengestoanyforfeiturecarriedoutinaccordance
withthisAgreementonanyg,ounds,inc.ludinganyandallconstitutional,legal,equitable'
                               giou-nds brought by any means, incJuding through direct
                                                                                        appeal, habeas
,i",r,"ry,                                                                 or seek review of any.civil
                   or civil coriplaint. ifr"b"f"na"nt will not challenge
           ".ia,oinistrative
""rrr'ilJif"",                                                       under this Agreement' and will
.r'iJ.iri*",ii," forfeiture "f ".y pt p"ny subject to orforfeiture
                                                             any petition for remission of forfeiture.
                ir,Lra party with -y .'t         or riview
""i"rr1rirrJ                             "ti"ng"
                                                  Restitution

                                                                          3663A(a) & (b), t 8 U.S.C. s 3664'
           l   8.Pursuant to l8 U.S.C. $ 3663(a[3), l8 U.s.C. $
     I ti-.r.S.C. S ZiSS, $e n.f*a"ni           io ."L"^ frll restitution to all minor victims of his
"na                                      "g""r the defendanl enters a plea ofguilty to such^counts
offenses as to all counts ctruged, *trethe;or not                                         the Defendant
and whether or not ,u"h            -e  Jistlttea pursuanl tothis agreement'           Il$erf
                          "o,nt'                 victims' for the entire scope of-his-criminal conduct'
agrees to pay restitution ,o -V of f it minor                                             acknowledges
fiiJrrglrl    ,"i]lnll,.a to urr ,utt.rs included as relevanr conducr. The Defendant victim of any child
                                            i"r"rant conduct) hcludes any      minor
_J         *",,rris criminat                                                              Code'  and any
    "g*"", ln"nr"r,           "onar.i1o,
                                       un"t'tg"a' under Chapter I l0' United States
il-"?.pr,v               "h*g"d-oi                                           by the defendant, including
ffi;;[,#      of any violatiJn of federal aid/or state lawiommitted
                                                                                the defendant agrees not
;;;;;;;;ral         offense' Further, pursuant to ] q U S-'9 S 3664(dX5)'
to oppose bifurcation ortr,e senteicirig hearing
                                                    if the victims' losses are not ascertainable prior to
                                                      provision, ir.will be considered a material breach
sentencing. If the Defendant d*r'r"i"tlnrr tfis
ilil;il;;i,          -a      orr,"" iay seek to be relieved of its obligations under this Agrcement.
                          ,r,i,
                                                                         and shall be ordered.ro be
         I 9.   The total amounr of restiturion shall be due immediately
                                                                    establishes only a minimum
oaid   forthwith. nny puyr"rr,"h.dule imposed b-y the Court
                                    ,,il            iaith effort             uny restitution. Regardless of
Il',lrj**"'ij*"^i-i         iriii          u eooa
                                    p.ynl"nt
                                             "r"rredule
                                                       does nor
                                                                   19
                                                               limil
                                                                        luy                      to collect
                                                                          rhe United States' ability
Defendant,s compliance,      -y                                                            any time. The
                   from      D;fi;A;;r ;r.rgh all -available. collection remedies atprobation
                                                                             oIlice, the           oflicer,
;"f;;;;;i "-""rits
"ai-]"""i  tu;l*i.gi"., tl,ut tl," D.'r*a-i*itt fully disclose to this (including
                                             of perjury,-alt information                 butrot limjted   to
il;;;d;,            riu.,."r to trre penartv
                                      -iru'n.iat'                                                     prior
conies of all relevant Uu* *[                     re-coias) regarding the currenl -location,and
Illr".lm"-"r'"ii rrna, our"in"a u. u ..rrtr of thereasonablecriminal conducr ser forth in the factual
                                               to take all              steps ro rerrieve or repa]T:l:
;r#;,t"r. Tn.'b.i.rJ"ri rr.ttre. "g.ees for                      rf  the Defendant does nol fulfill this
                                                                                                        "ny
lHH";i:     #;'il;;;'"r"i[ur.                      restiturion.
                                                                                       office may seek to
.r"rl..r,l, *rrr be considered u i.t"riut breach of this Agreement, and this
Le relieved of its obligations under this Agreement'



                                                                   Victims of Trafficking Act
           19.     Pursuant lo l8 U'S'C' $ 3014 (the Justicefor
,'JVTn'l), since the offense ofroiri"tion is undir Chapter 77 (relating to peonage' slavery' and
,*in"xril-ii p.^"ns),    I 09A          i" sexuat abusej, I I 0 (relaring to sexual exploitation and
                                    ti"r"ii"g

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other abuse ofchildren), I l7 (relating to transportstion for illegal sexual activity and related
crimes), or 274 (related to human smuggling), the Defendant musl also pay an additional special
assessment of$5,000, unless the Defendanl is indigent.

        20.AssessmentsinChildPomographyCases:Pursuanttol8U'S'C'$2259A(the
Amy, vicky, and Andy Child Pomography victim Assistance Act "AVAA"), in addition to any
othercriminal penslty: restitution, oi special assessment authorized by l8w, the court shall
assess-(l) not more tiran $17,000 on 8ny peNon convicted ofan offense under section 2252(a)(4)
or 2252'A(a)(5); (2) not morr than $35,000 on any p€rson convicted ofany other olTense
                                                                                           for
trafficking in .t iia'po-ography; and (3) not more than $50,000 on any person convicted of a
child pomography production offense.

                       Defendant's Conduct Prior to Sentencine and Breach

        21.      Between now and the date of the sentencing, the Defendant will not engage in
conduct that constitutes obstruction ofjustice under U.S.S.G. $ 3Cl .l; will not violate any federal,
state, or local law; will acknowledge guilt to the probation oflicer and the Court;
                                                                                     will be truthful
in any statement to the Courf, tfriJOffice,   law enforcement  agents, and  probation.  oflicers; will
            in the preparation of the presentence report; and will not move   to withdraw    from the
"oofot"
plea of guilty or from this Agreement.

        22.    If the Defendant    engages in conducl prior to sentencing that violales the. above
paragraph of this Agreement, and tlie Court finds a violation by a preponderance of.the evidence,
in.rltii ,t i. office-will be free from its obligations under this Agreement; (ii) this office may
make sentencing arguments and recommendations different from those set out in this Agreement,
even if the Agreiment was reached pursuant to Rule I l(cXl)-(C); and
                                                                       (iii) in any criminal or civil
proceeding, iirir Ofii." will bc free to use against the Defendant all statements made by the
befendant-'and any of the information or materials provided by the Defendant, including
                                                                                               made
statements, information, and materials provided Pursuant to this Agreement, and statem-ents-
during proceedings beiore the Court pursuant to Rule ll.of the Federal           Rules  of Criminal
proce-aur". A detirmination that rhis Oflice is released from its obligations under this Agreement
will not permit the Defendant to withdraw the guilty plea. .The Defendant acknowledges thar the
Defendant may not withdraw the Defendanis guilty plea---+ven if made
                                                                                  punuant to Rule
i it"lt f XCfii the Courr finds thar the Defendant breached lhe Agreement.     In that event, neither
the Court nor the Govemment will be bound by the specific sentence or sentencing range agreed
and stipulated to herein pursuant to Rule I l(cXlXC)'

                                          court Not a Psrtv

        23.TheCourlisnotapartytothisAgreement'Thesentencetobeimposediswithin
the sole discrerion ofthe Courl. th" iou.t is noi bound by the Sentencing Guidelines
                                                                                     stipulation
in this Agreement. The Court will determine the facts r€levant to sentencing The Court is not
                                                                                   the power to
required io accept any recommendation or stipulation oftheparties, The Court has
i-'pose ,"nt"ni" ui to the maximum penaity allowed by       law. If the Court makes  sentencing
finiings "different from those stipulsted in this Agreement, or if the Court imposes any sentence up
to the iraximum allowed by statute, the Defendant will remain bound to fulfill all of
                                                                                      the obligations


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underthisAgreement.Neithertheprosecutor,defens€.counsel'northeCourtcanmakea-binding
prediction, promise, o, ,apra,.,,ttti'on    to *i"t guidelines range or sentence the Defendant will
                                         "t                  a binding prediction or promise'
receive. The Defendant agrees that no one has mide such

                                               Entire Aereemenl

                                                                                the complete plea
         24.  This letter, together with the Sealed Supplement, constitutes
                                                                                          any prior
          in tf,i.        itt f.tt"r, together with.the S-ialed Supplement, supersedes     no other
"gr.r.;;i          "as..
undersEndings, prorlr.r, o,
                                                 this OIfice and the Defendant'  There are
                             "o,ditionsLtween              between the Defendant and    this Ofnce
asreements, promises, *O.ttJings, or understandings
                                                      Supplement' No changes to this Agreement
;ffi,h- ii#;il;h i; rhh |";er and theallSealed   panies and approved by the Court'
;ii[;    "ff;""
                 unless in writing, signed by

                                                               condition ofthis Agreement' please
         Ifthe Defendant fully accepts each ard every term and
,ign               i.i"na*i tign ihe original and retum it to me promptly'
       "ni'r,lrJ"
                                                           Very trulY Yours,

                                                           Jonathan F. Lenzner
                                                                  States Atto



                                                           Pau     ey
                                                           Assistant United States Attomey
                                                           Joyce King
                                                           Special Assistant United Sl8les Atlomey


                                                                      and carefully reviewed-every
        I have read this Agreement, including the Sealed-supplement'
                     i,"ati'*a
Dart of it with my auomey.
                                                                 it'
                                             it and I volunrarily agree to    Specifically' I.have
                                                 Sripulation with mv anomev   and  I do not wish to
I;i.*J #;;;;Jidrisory Guidelines
.i"ig"-"ry   part of   it.   satisfied with the representation of my attorney'
                             I am completely


n'T/-zdul                                     William F     in Brown IV
Date
                                                                   every part of this Agreement'
         I am the Defendant's attorney' I have carefully reviewed
including the Sealed SuPP lement with the Defendant.
                                                           fie Defendant advises me that the
                                              To mY know ledge, the Defendant's decision to enter
Defendant understands and ac cepts its terms.
into this Agreement is an inform ed and volunhry
                                                   one.




         L        Z/
Date
                                                    Mark Sobel, Esq.


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                                                      il
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                                       ATTA       MENTA

                                  STIPULATION OF FACTS

        The undersigned parties slipulate and agree that d this case had proceeded to lrial, lhis
ffice would have proven the followingfacts beyond o reasonoble doubt. The undersigned parlies
aiso stipulate and agree that the followinglacts do not encompass all of the evidence that would
have been presented had this matter proceeded to lrial.

         The Defendant, William Franklin Brown [V, bom August 1980' is a resident of Frederick
Maryland. Over a period of at least six months, beginning in August 201 9 and continuing until
                                                                    I
January 2020, Defendant repeatedly sexually abused Jane Doe (bom December 2004) and
produced numerous sexually explicit images of her. Defendant rcpeatedly photographed and
video-recorded himself sexually abusing Jane Doe I and likewise, while posing as a third-party
called
       ,,GG" and othen, repeatedly coerced her lo send sexually explicit videos and images to him
over the Inlernet-based communication service Telegram.
        Moreover, over a period of approximately two years, Defendant produced images ofchild
pomography of his daughter, Jane Doe 2 (born in March 2005)' He filmed her using a covert
tamera in bathroom she used at Defendant's home. He likewise posed online as GG and repeatedly
directed Jane Doe 2 to send him photographs ofherselfengaging in sexually explicit conduct over
the Telegram app, which she did.
Defen      's Sexual     oitation ofJane Doe I
        ln the summer of 2019, while posing as a teenage boy, Defendant first met Jane Doe I
online, and began a relationship with her that included the exchange of sexually explicit
photographs. Difendant sent Jane Doe I photographs ofa teenage boy engaged in sexually explicit
conduit that he had acquired online and coerced Jane Doe I to send sexually explicit photographs
of herself.
        Moreover, posing as GG-an adult film actor and musician who resides in Miami'
Florida-Defendant again contacted Jane Doe I online. Thereafter, Defendant repeatedly sent
Jane Doe I sexually explicit photographs ofGG that he had previously obtained on the lntemel
and coerced Jane Doe I to send him sexually explicit photographs ofherselfvia the Telegram app.
        Jane   Doe   Ieventually discovered that Defendant was posing as a teenage boy, and
Defendanr ultimately disclosed his age and true identity to her. Defendant and Jane Doe I
eventually met in person. Beginning in September 2019 Defendant repeatedly engaged in vaginal
and oral intercourie with Jane Doe I on numerous occasions (approximately four times per week)
at various locations in Frederick, Maryland, including his home located at I 5l West Main St.eel,
New Market, Maryland 21774, in his van (a Blue 2014 Chrysler Town & Country Minivan bearing
Maryland Registration 9cw4o8l ), and the home of Jane Doe I . Defendant would frequently use
a mobile dert" to take photographs and videos of his abuse ofJane Doe I , such as the depictions
charged in Counts One through Three of the Superseding Indictment, which depict respectively:
( I ) Defendanr placing a vibrator on Jane Doe I 's exposed vagina; (2) Defendant placing his penis
in Jane Doe I's vagina; and (3) Defendant placing his penis in Jane Doe I's mouth.



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                                                              sexually explicit photographs and
        Defendant likewise coerced Jane Doe I to send him
videos ofherselfand would r"nJt     J"pl.tions of himself masturbating. Defendant also used the
                                 ",                             video of Jane Doe I engaging in
online video-releconference .y;;-Sk;; io view live-stream
sexually explicit conduct.
                                                              lingerie' and a phone to use to
        Defendant provided Jane Doe I various sex toys'
communicate him without her parents' knowledge'
                                                              Doe l' Defendant used an online
        Moreover, without the knowledge or consenl of Jane
                                                               Jane Doe l's activity online and
.oriroriif ioor, called Kidlog;;;Ji"". viewer to racl
;il;;";;;ir"ts and videoJSiho                 including any communicarions she had with others
                                       ".rtrity,
conceming him or GG.
Defendant's Sexual Exoloitation ofJane Doe 2
                                                           2 online when she as approxim ately l-2'13
        Defendant, again posing as GG, met Jane Doe
vears old. Over a period        y?t*,b"f"'aant' posing as GG' coerced Jane Doe 2-to send him
'#ff;"#;i;fi;;;p;";ih;rself' "f                on one occ-asion' Defendant' posing as GG' told rane
Doe 2 rhat if she did no,            *iif, his demands for sexually explicit -photograpts' that GG
                             "orp]V             The following day, Defendant falsely told.Jane Doe
                                                                                                    2
would hack into her father's b"lli
                                    """orn,.
                   hacked into his bank account. In response, Jane
                                                                       Doe 2  sent Defendant,  posing
ffi;;;;;;;;J                                         via the Telegram  app'
            sexually explicil photos he demanded
";a;,h.                                                    posing as GG, provided Jane Doe.2 cash in
        Furlhermore, on several occasions, Defendant,
exchange for sending him *-JfV             i"i, photographs, which he hid behind the recycling bin at
                                     "-pf                 GG, numerous depictions of herself engaged
their residence. Jane Doe 2 seni'#ei.tIJ*,,'p"tiri "s
                              i;;il;;;"piiions.             charged in Counts Eight and Nine of the
,  *"r"rry .-prrcit conduct,
                                              Doe i touching and penetratins her exposed
                                                                                           vagina'
il;ffiild;"t              tt  d;|ti-ii,"
                     "nq "v
      BetwetnJune20lsandSeptember20lg,Defendantlikewiseinstalledscovertcamerain
                         j
u u"tr,Ji rrJ uy Jane Doe *i[iou, r,gr
                                       t"owledge. That camera repeatedly captured images
                                          ur"""o                    eventually downloaded these
                                                                D.f"nd-t
of Jane Doe 2 nude with her vaginu   -J
i;;;;;;t.i;uns        Note e d";;;;',       sN: 903YrEYi675476' During the same timeframe'
                                                   "*por--.d.

Defendant likewise  installea cI"i "u*i"
                              a               ln l-e Doe 2's bedroom for the purpose of capturing
images of her nude.

        Defendant,posingasGG,alsosentJaneDoe2varioussex-relateditemsinthemail'
                                                                          a rcuiler called,Adam
i""lrdi;g-ti;;;;i;; rl.* to|. una-u-ovn conraining adult pomography_from      how to use them'
ffi;;.- i;b.f;danr himself gave Jane Doe 2-varioui t.* loyt          told
                                                                 and      her
                                                                                 used the online
       Morcover,    without the knowledge or consent of Jane Doe 2' Defendant
monitoring tool Kidtogger to track Jane 6oe 2's
                                                activity onlin€ and caPture screenshots and videos
                                                                 or others'
  fr"i         includi-ng any communications she had with GG
"i    ""iiiry,
Search Warranr Execution and Defendant's Arrest
                                                       Defendant and that same day executed a
       On February 3,2020,law enforcement arrested                                          at
search and seizure warrant  ;;";;;;i;;;"tidence in Frederick' Maryland' which waslocated
                                                        on February  4'        law enforcement
l5l West Main Street, N"*", M;;k;i, M aryland 21774.
                                                                        2o2,o'
                                        *irr""t                   During the execution of the
executed a second ."ur.f, una''"i"*
                                                at the residence'
                                                            the following items belonging to
warants, law enforcemen, ,"irJ, u."ng other things,


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Defendant: a Cyber Power PC, SN: ETl350-2281; a Samsung Note 9 smartphone, SN:
803VTEY0675476; a SanDisk Cruzer Hard Drive, SN: 4C531001570512117250' which was
hidden within a holtowed-out book; and a Asus Model N580G Notebook PC' SN:
J9NOCVl 16577398, Defendant's work computer.
        All of these items were manufaclured outside of the District of Maryland. Moreover, the
Intemet is a facility of intentate commerce.
        The seized items were forensically examined. The CyberPower PC contained hundreds of
depictions ofJane Doe I engaged in sexually explicil conducl, including the depictions rcferenced
in Counls One, Two, Four of the Superseding Indictsnent. Moreover, it contained numerous
images ofJane Doe 2 engaged in sexually explicit conduct, including the depictions referenced in
Count Eight of the Superseding Indictrnent. The PC likewise contained screenshots of numerous
conversations between Defendant, posing as GG, and Jane Doe I; screenshols of numerous
conversations between Defendant and Jane Doe I, in which both of their faces are visible;
numerous artifacts from the Telegram, Kidlogger, and Team Viewer applications.
        Defendant's Samsung Note 9 smanphone, SA'l: 803VT8Y0675476 likewise contained
hundreds ofdepictions ofJane Doe I and Jane 2 engaged in sexually explicit conduct, including
the depictions referenced in Counts Three and Six ofthe Superseding Indictment. Moreover, it
contained five images of Jane Doe 2's body and exposed vagina, which were captured by the
covert camera insUlled by Defendant in Jane Doe 2's bathroom, as referenced in Count Seven of
the Superseding Indictment.
        The Samsung smartphone likewise contained screenshots of numerous conversations
between Defendant, posing as GG, and Jane Doe l; screenshots of numerous conversations
between Defendant and Jane Doe l, in which both oftheir faces are visible; and numerous srtifacts
from the Telegram and Kidlogger applications'
        The phone tikewise reflected that Defendant had rcpeatedly accessed GG's webpage on
onlyfans.com to obtain nude photos of GG, as well as other sites refening to GG, and sites
regarding catfishing-,.e., creating a fictitious online persona on social media to larget a specific
victim.
       Defendant's work computer, the Asus Model N580G Notebook PC' S/N:
J9N0CVI 16577398, contained approximately 40 images ofJane Doe I and Jane Doe 2 engaged
in sexually explicit conduct, including the depictions referenced in Counts Five and Nine of the
Superseding [ndictment.
       Finally, the SanDisk Cruzer Hard Drive, SN: 4C53l0Ol570512117250, which was hidden
within a hollowed-out book at Defendant's residence, contained approximately 100 images of
minors, including prepuksc€nt minors, engaged in sexually explicit conduct.
        Defendant admits that he used a facility and means of interstate commerce (the above-
referenced Samsung mobile device and above-refercnced computers) to persuade, induce' entice
and coerce Jane Doe I and Jane Doe 2 to engage in sexually explicit conduct for the purpose of
producing a visual depiction of such conduct.

        Defendant further admits that on or about May 15,2021, he wrote a letter lo Jane Doe    2-
intercepted by law enforcement-in which he attempted to influence Jane Doe 2's potential


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                                                        F or instance, Defendant falsely stated that
lestrmonY in connection with any trial in this matter'
he didn't see "what you were getting involved
                                                with" and that "l would have never agreed to take
                                                         stated $at "[t]he last thing I want to do is
the 'fall' for I GGI if I had known." Defendant likewise
                                                          and that " I hope you know me better to
drag you and I Jane Doe ll through the court system"
                                                   ld never do anYh ln g to hurt any of my children."
believe that I've done what they are saYing. I wou

       SO STIPULATED:


                                              Paul Riley
                                              Assisrant United Slates Attomey
                                              Joyce   King
                                              Special Assistant United States Anomey




                                              William F        n Brown   IV
                                              Defendant




                                                                    . fl,4rt,           ?c1,'
                                              Counsel for Defendant




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